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                       UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF CONNECTICUT




In re:                                           Chapter 11

HO WAN KWOK, et al.,                             Case No. 22-50073 (JAM)

                           Debtors.              (Jointly Administered)




 CONSENTED TO MOTION OF UBS AG TO ADJOURN HEARING ON MOTION OF
       CHAPTER 11 TRUSTEE FOR ENTRY OF ORDER COMPELLING
            UBS AG TO COMPLY WITH RULE 2004 SUBPOENA
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       Non-party UBS AG (“UBS”), by and through its undersigned counsel, upon the consent of

Luc A. Despins, in his capacity as the chapter 11 trustee (the “Trustee” and, with UBS, the

“Parties”) in the above-captioned chapter 11 case of the debtor Ho Wan Kwok, hereby respectfully

moves to adjourn the hearing on the Motion of Chapter 11 Trustee for Entry of Order Compelling

UBS AG to Comply with Rule 2004 Subpoena [ECF No. 1362] (the “Motion”), pursuant to the

terms set forth in the proposed Consent Order Adjourning July 18, 2023 Hearing on Motion to

Compel attached hereto as Exhibit A (the “Proposed Consent Order”). As set forth in the Proposed

Consent Order, the Parties continue to engage in good-faith discussions with the goal of reaching a

consensual resolution of the Motion that would avoid the need for a hearing. The Parties are

available to attend a hearing on the Motion on August 2, 2023, and request that the hearing be

scheduled on such date or on the next available date thereafter that is convenient to the Court. The

Trustee consents to the requested relief.

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         WHEREFORE, UBS respectfully requests that the Court adjourn the hearing on the Motion

pursuant to the Proposed Consent Order and grant such other relief as is just and proper.


Dated:          July 14, 2023

                                                     UBS AG


                                                     By: /s/ Lisa J. Fried_____
                                                     Lisa J. Fried (ct31425)
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                            UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF CONNECTICUT




 In re:                                                   Chapter 11

 HO WAN KWOK, et al.,                                     Case No. 22-50073 (JAM)

                                 Debtors.                 (Jointly Administered)




                                  CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on July 14, 2023, the foregoing was electronically

filed. Notice of this filing was sent by e-mail to all parties to the above-captioned adversary

proceeding by operation of the Court’s electronic filing (“CM/ECF”) system. Parties may access

this filing through the Court’s CM/ECF system.

Dated:           July 14, 2023

                                                      UBS AG


                                                      By: /s/ Lisa J. Fried_____
                                                      Lisa J. Fried (ct31425)
                                                      HERBERT SMITH FREEHILLS
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                                  EXHIBIT A

                       (PROPOSED CONSENT ORDER)
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                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF CONNECTICUT




 In re:                                                 Chapter 11

 HO WAN KWOK, et al.,                                   Case No. 22-50073 (JAM)

                                Debtors.                (Jointly Administered)




     [PROPOSED] CONSENT ORDER ADJOURNING HEARING ON MOTION OF
         CHAPTER 11 TRUSTEE FOR ENTRY OF ORDER COMPELLING
              UBS AG TO COMPLY WITH RULE 2004 SUBPOENA

       WHEREAS, on January 23, 2023, Luc A. Despins, in his capacity as chapter 11 trustee
(the “Trustee”) in the above-captioned chapter 11 case of the debtor Ho Wan Kwok, filed the
Motion of Chapter 11 Trustee for Entry of Order Compelling UBS AG (“UBS AG” and, with the
Trustee, the “Parties”) to Comply with Rule 2004 Subpoena [ECF No. 1362] (the “Motion”).

       WHEREAS, on January 30, 2023, UBS filed its objection to the Motion [ECF No. 1407]
(the “Objection”), along with declarations in support of the Objection [ECF Nos. 1408–1411,
1413].

      WHEREAS, on January 31, 2023, the Trustee filed a reply in further support of the Motion
[ECF No. 1416].

       WHEREAS, at a hearing on January 31, 2023, based on representations by the Parties that
they had made progress toward a potential consensual resolution of the Motion, the Motion was
continued to March 7, 2023 [ECF No. 1422].

       WHEREAS, at a hearing on March 7, 2023, based on representations by the Parties that
they had made further progress toward a potential consensual resolution of the Motion, the Motion
was continued to April 18, 2023 [ECF No. 1526].

       WHEREAS, at a hearing on April 18, 2023, based on representations by the Parties that
they had made further progress toward a potential consensual resolution of the Motion, the Motion
was continued to May 2, 2023 [ECF No. 1677].

       WHEREAS, at a hearing on May 2, 2023, based on representations by the Parties that they
had made further progress toward a potential consensual resolution of the Motion, the Motion was
continued to May 30, 2023 [ECF No. 1743].

          WHEREAS, on May 15, 2023, the Court ordered the May 30, 2023 hearing on the Motion
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adjourned to June 6, 2023 due to a scheduling conflict [ECF No. 1793].

        WHEREAS, based on representations by counsel for UBS that counsel for UBS was
unavailable to attend a hearing on June 6, 2023 due to previously scheduled business travel, that
the Parties were engaged in good-faith discussions with the goal of reaching a consensual
resolution of the Motion that would avoid the need for a hearing, and that the Trustee consented
to an adjournment, on June 2, 2023, the Court ordered the June 6, 2023 hearing on the Motion
adjourned to July 11, 2023 [ECF No. 1857].

       WHEREAS, based on representations by counsel for UBS that the Parties were engaged in
good-faith discussions with the goal of reaching a consensual resolution of the Motion that would
avoid the need for a hearing and that the Trustee consented to an adjournment, on July 7, 2023,
the Court ordered the July 11, 2023 hearing on the Motion adjourned to July 18, 2023 [ECF No.
1983].

       WHEREAS, the Parties continue to engage in good-faith discussions with the goal of
reaching a consensual resolution of the Motion that would avoid the need for a hearing.

       WHEREAS, upon consent of the Parties:

NOW, it is hereby ORDERED that the hearing on the Motion is continued to a date and time
convenient for the Court not earlier than August 2, 2023, in the United States Bankruptcy Court,
915 Lafayette Boulevard, in Bridgeport, Connecticut.



Signed this __ day of ___________, 2023



                                            _____________________________
                                            Hon. Julie A. Manning
                                            United States Bankruptcy Judge
